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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

 JOHN DOE

           Plaintiff,

 v.                                                 Docket No. 2:19-cv-02336-JTF-tmp

 RHODES COLLEGE,

           Defendant.


                                DEFENDANT’S SUPPLEMENTAL
                                STATEMENT OF AUTHORITIES

          COMES NOW, Rhodes College (hereafter “Defendant”) and files this Supplemental

Statement of Authorities, and shows as follows:

          Under Sixth Circuit case law, there is no requirement that a traumatized sexual assault

victim must testify during a private college’s Title IX proceeding, and there is no precedent that a

private college could commit a de facto due process violation by not requiring him or her to do so.

To the contrary, the Middle District of Tennessee has recently held that a lack of cross-examination

“is not grounds for [a] breach of contract claim” against a private university. Defendant Rhodes

College is a private college.

          Below is a brief recitation of Sixth Circuit case law, set forth chronologically, related to

Constitutional due process considerations for permitting or requiring cross-examination during

campus Title IX sexual assault proceedings.

         In Doe v. Cummins, which involved the public University of Cincinnati, the Sixth Circuit

          noted that, for public institutions, “[t]he Constitution requires certain minimum procedures

          before an individual is deprived of a ‘liberty’ or ‘property’ interest within the meaning of


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       the Due Process Clause of the Fourteenth Amendment.” 662 F. App’x 437, 445 (6th Cir.

       2016). The Court stated that an accused student does not necessarily have “the right to

       cross-examine his accuser in a school disciplinary proceeding,” as it is not an “essential

       requirement.” Id. at 446. Accused students do not have a right to a “full-scale adversarial

       proceeding.” Id. Due process should be determined based upon whether the accused

       student has “an opportunity to ‘respond, explain, and defend’ and not on whether [a

       campus] hearing mirrored a criminal trial.” Id.

      The Sixth Circuit created a limited holding in Doe v. Univ. of Cincinnati that cross-

       examination of victims may be required at public institutions in specific circumstances. In

       Univ. of Cincinnati, two students engaged in sexual activity in one of their apartments. 872

       F.3d 393, 396 (6th Cir. 2017). The female student reported the incident as non-consensual

       sex, while the male student argued it was consensual. Id. There was no physical evidence

       and no witnesses that could corroborate either person’s story. Id. The Court explained that

       in a scenario where the hearing board at a public university has a choice of believing the

       accuser or the accused with no corroborating evidence, then the issue necessarily turns on

       each student’s credibility. Id. at 401-402. Thus, in order to provide Constitutional due

       process, there must be a manner for the hearing board to evaluate credibility through cross-

       examination or other means, which would require victim participation. Id. 406. The Court

       made it clear that this was a “narrow” obligation and left it to the school to determine the

       best way to accomplish that end. Id. That said, the Court specifically stated that the accused

       did not have a right to confront the victim, suggesting that evaluation of credibility did not

       have to conform to traditional cross-examination methods. Id.




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      The Sixth Circuit re-addressed this issue in Doe v. Baum, which involved the public

       University of Michigan. After noting that notions of due process are derived from the

       Constitution, the Court stated that: “(1) if a student is accused of misconduct, the university

       must hold some sort of hearing before imposing a sanction as serious as expulsion or

       suspension, and (2) when the university's determination turns on the credibility of the

       accuser, the accused, or witnesses, that hearing must include an opportunity for cross-

       examination.” 903 F.3d 575, 581 (6th Cir. 2018) (emphasis added).

      However, most recently, in Doe v. Belmont University, 334 F.Supp.3d 877, 893-894 (M.D.

       Tenn. 2018), the Middle District of Tennessee examined whether an accused student

       should have been provided a cross-examination opportunity by a private college (like

       Rhodes). The Court noted that, in he-said/she-said scenarios involving public universities

       subject to Constitutional due process considerations, like the University of Cincinnati and

       the University of Michigan, the Sixth Circuit has required cross-examination when “a

       public university has to choose between competing narratives.” Id. However, the Middle

       District expressly rejected application of Baum and Univ. of Cincinnati in its case because

       Belmont was a private university, which is not bound to Constitutional due process

       standards. Id. at 894. Therefore, “the proper focus in analyzing whether a private university

       provided fundamental fairness is whether the University adhered to its [contractual]

       misconduct procedure.” Id. The Court expressly held that a lack of cross-examination “is

       not grounds for [a] breach of contract claim” against the private university. Id.

       Other circuits have addressed the issue of victim participation and cross-examination

during campus hearings. All are consistent with the understanding that accused students only have




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a right to cross-examine victims in a sexual misconduct hearing when the hearing board’s decision

relies upon the credibility of the victim and/or accused.

      The Fifth Circuit recently noted that an accused student does not have a right to cross-

       examine a victim when there is sufficient evidence of sexual misconduct presented at the

       hearing. Plummer v. Univ. of Houston, 860 F.3d 767, 775 (5th Cir. 2017) (public

       university). In that case, the Court noted that an accused student was not entitled to cross-

       examine the victim where there was physical evidence presented, the accused was allowed

       to have legal counsel participate in the hearing, and the accused student could cross-

       examine all witnesses other than the victim. Id. See also Dixon v. Alabama State Bd. of

       Ed., 294 F.d 150 (5th Cir. 1961) (“…a hearing which gives the Board or the administrative

       authorities of the college an opportunity to hear both sides in considerable detail is best

       suited to protect the rights of all involved. This is not to imply that a full-dress judicial

       hearing, with the right to cross-examine witnesses, is required”) (public university system).

      The Eleventh Circuit has held that college students do not have a right to formal rules of

       evidence and that cross-examination is not required in student disciplinary hearings. Nash

       v. Auburn University, 812 F.2d 655 (11th Cir. 1987) (public university).

      In the Second Circuit, the Court has stated that cross-examination is only relevant where

       the hearing board must “choose to believe either the accused or his accuser.” Winnick v.

       Manning, 460 F.2d 545, 549-550 (2d Cir. 1972) (public University of Connecticut); see

       also id. at 545 (“This appeal raises important questions with respect to the scope of

       procedural safeguards which due process requires a public university to afford a student

       facing expulsion”).




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       Wherefore, Defendant Rhodes College respectfully requests denial of Plaintiff’s

Application for a Temporary Restraining Order (“TRO”) and Preliminary Injunction.

       Respectfully submitted this 13th day of June, 2019.

                                            /s/ James A. Haltom
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served on counsel of record by the Court’s ECF
system and by placing a true and accurate copy in the U.S. Mail, postage prepaid, to the following:

Brice Timmons
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530 Oak Court Drive, Suite 360
Memphis, TN 38117



       Dated June 13, 2019.                                 /s/ James A. Haltom
                                                            JAMES A. HALTOM




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